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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

NORTH STAR SCIENTIFIC                              §
SOLUTIONS, LLC                                     §
Plaintiff,                                         §
                                                   §              CIVIL ACTION NO. 1:24-cv-00541
v.                                                 §
                                                   §                    JURY TRIAL DEMANDED
                                                   §
MICHIGAN HEALTH CLINICS,                           §
Defendant.                                         §
                                                   §
                                                   §


                 PLAINTIFF’S ORIGINAL COMPLAINT & JURY DEMAND

        Plaintiff, North Star Scientific Solutions, LLC (“North Star” or “Plaintiff”) files this

Original Complaint against Michigan Health Clinics, LLC (“MHC” or “Defendant”). Both

Plaintiff and Defendant will be collectively referred to as the “Parties” and Plaintiff would

respectfully show the Court as follows:

                                 I.    NATURE OF ACTION

         1.      This is an action for breach of contract. Plaintiff has also asserted other additional

causes of action, which are discussed in greater detail below.

         2.      This Court has diversity jurisdiction over the subject matter of this action pursuant

to 28 U.S.C. § 1331(a). Defendant Michigan Health Clinics is a domestic professional corporation

with its principal place of business in Michigan. Plaintiff is a limited liability company with its

principal place of business in Colorado.

         3.      This Court has personal jurisdiction over Defendant as Defendant is in and carries

on its business in the State of Colorado. Defendants are parties to contracts executed in Colorado,

including but not limited to consulting agreements.




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         4.      Venue in this Judicial District is proper under 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions giving rise to the claim occurred in the district.

                                      II.     PARTIES

         5.       Plaintiff, North Star Scientific Solutions is a Colorado limited liability company

with its principal place of business located at 1204 Washington Ave. Unity 7 Golden, Colorado

80401.

         6.       Defendant, Michigan Health Clinics, P.C. is a domestic professional corporation

organized under the laws of the State of Michigan and may be served through its registered agent,

David Stockman, at 5805 McCarty Rd. Saginaw, Michigan 48603, or wherever he may be found.

                                 III. FACTUAL BACKGROUND

         7.       Defendant, MHC, is engaged in the cannabis industry and Plaintiff provides

various consulting services to companies in that industry. MHC sought out the services of Plaintiff

to develop a detailed project plan for the setup and implementation of cannabis testing services per

the Michigan Cannabis Regulatory Agency (formerly the Michigan Marijuana Regulatory

Agency).

         8.       On June 8, 2021, the Parties entered into a consulting agreement (the

“Agreement”). See Exhibit 1. The Agreement consisted of three (3) phases: Phase 1, Phase 2, and

Phase 3 outlined in Addendums A-D. See Exhibits 2, 3, 4, and 5. Under the Agreement and its

Addendums Plaintiff’s main focus was to do consulting work for MHC to enable them to obtain

their cannabis testing license in Michigan.

         9.       On April 7, 2022, the Parties executed Addendum D to the Agreement, See Exhibit

5, detailing the consulting services that Plaintiff would render to MHC under the final phase of the

Agreement, Phase 3. The Addendum also outlined compensation terms and fee structure, which

Defendant failed to honor.


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        10.       Payments to Plaintiff, as clearly stated in the Agreement and its Addendums,

began to slow down towards the end of 2022. Around February of 2023, Defendant MHC, made a

payment of approximately $50,000.00 to settle its overdue invoices.

        11.       Between February and July of 2023, MHC assured Plaintiff that payments would

improve after obtaining its license, leading Plaintiff to continue to work in good faith. MHC

received its license in July of 2023, yet outstanding invoices persisted. See Exhibit 6 - Invoice

Summary.

        12.       After enduring months of unfulfilled promises and communication breakdowns,

Plaintiff reached out to Defendant again regarding payment. Defendant promised to remit $10,000

to $15,000 but failed to fulfill this commitment. See Exhibit 7.

        13.       The end of Plaintiff’s communication with Defendant was on or about October 28,

2023, wherein Plaintiff sought reassurance about pending payments, only to receive another empty

promise from Defendant. See Exhibit 8. Today, the outstanding invoices amount to $101,441.22

including the 5% late fee. See Again Exhibit 6 - Invoice Summary.

        14.       Plaintiff, by and through its counsel, sent a demand for payment to Defendant

outlining the overdue invoices and the amount due. See Exhibit 9 - Demand Letter. Despite

repeated attempts, Defendant’s consistent lack of response has compelled Plaintiff to file this

Complaint.

        15.       Today, Defendant sits with its cannabis lab testing license, achieved through

Plaintiff’s diligent work under the Agreement, yet without compensating Plaintiff for their efforts,

disregarding the Agreement and its Addendums.

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                                    IV. CAUSES OF ACTION

Count One: Breach of Contract

        16.      Plaintiff hereby adopts and re-allege each and every allegation previously set forth

in this Petition as if fully set forth herein. FED. R. CIV. P. 10(c).

        17.      To bring a breach of contract claim, a plaintiff must show: (1) there is a valid

contract between the plaintiff and the defendant, (2) performance or tender of performance by the

plaintiff, (3) breach by the defendant, and (4) damage to the plaintiff as a result of the breach.

        18.      Plaintiff and Defendant entered into valid, binding, and enforceable written contract

on or about June 8, 2021, wherein Defendant represented that they were seeking Plaintiff’s

consulting services; Defendant was willing to compensate Plaintiff for its consulting services; and

that Defendant was capable of compensating Plaintiff for its services.

        19.       Plaintiff fully performed under the contract by tendering the consulting services

stipulated under the Agreements.

        20.       Defendant breached the Agreement and its Addendums by failing to uphold their

end of the compensation obligations as stated under the Agreement.

        21.       Plaintiff has suffered injury due to Defendant’s breach.

        22.       Plaintiff is entitled to recover actual damages and attorney’s fees as a result of

Defendant’s breach of contract.

Count Two: Unjust Enrichment

        23.      Plaintiffs hereby adopt and re-allege each and every allegation previously set forth

in this Petition as if fully set forth herein. FED. R. CIV. P. 10(c).

        24.      Plaintiffs assert that Defendant was unjustly enriched by the professional services

rendered, to the impoverishment of Plaintiff, that Plaintiff remains unpaid without justification,

and that Plaintiff is entitled to recover under the doctrine of unjust enrichment, which is recognized


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in law and jurisprudence, all amounts owed to Plaintiff, along with expenses, court costs, and

attorneys’ fees allowable under the law.

                                 V.   ATTORNEYS’ FEES AND DAMAGES

        25.      Plaintiff hereby adopts and re-allege each and every allegation previously set forth

in this Petition as if fully set forth herein. FED. R. CIV. P. 10(c).

        26.      Plaintiff is entitled to reasonable attorney’s fees in a breach of contract suit.

        27.      Plaintiff also seeks reasonable attorney’s fees, litigation expenses, and costs

pursuant to Section 10.10 of the Agreement as shown below.




                                           VI.      JURY DEMAND

        28.      Plaintiff repeats and re-alleges the foregoing paragraphs as if fully set forth herein.

FED. R. CIV. P. 10(c).

        29.      Plaintiff respectfully demands the right to have a trial by jury and has tended the

appropriate jury fee to the Clerk of Court for the U.S. District Court for the District of Colorado.

                                                 VII.   PRAYER

        WHEREFORE, Plaintiff prays that Defendant be cited to appear and answer, and after

trial and hearing, Plaintiff be granted the relief requested herein, specifically the following:

    (a) Actual damages;
    (b) Exemplary damages;
    (c) Pre-judgment interest;
    (d) Attorneys’ fees;
    (e) Costs of suit;
    (f) Post-judgment interest; and

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    (g) Such other and further relief to which Plaintiffs may show themselves justly entitled at law
        or in equity.
                                                   Respectfully submitted,

                                                  THE VETHAN LAW FIRM, P.C.

                                                  By: /s/ Charles M.R. Vethan
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